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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       NEWNAN DIVISION

HAPPY JOHNSON                           )
                                        )
       Plaintiff,                       ) Civil Action File No.
                                        )
v.                                      )
                                        ) JURY TRIAL DEMANDED
SPALDING COUNTY                         )
CORRECTIONAL INSTITUTE,                 )
SPALDING COUNTY, and                    )
SHERIFF DARRELL DIX, in his             )
Official Capacity,                      )
                                        )
       Defendants.                      )

            COMPLAINT FOR EQUITABLE RELIEF AND DAMAGES

       Plaintiff Happy Johnson (“Plaintiff” or “Ms. Johnson”) files this

Complaint for Equitable Relief and Damages against Spalding County

Correctional Institute; Spalding County; and Sheriff Darrell Dix, in his official

capacity (“Defendants”) showing the Court the following:

                              INTRODUCTION

       1.     This is an action under Title I of the Americans with Disabilities

Act of 1990, as amended by the Americans with Disabilities Amendments Act

of 2008 (“ADA”), 42 U.S.C. § 12101 et seq.; Section 504 of the Rehabilitation

Act of 1973, 29 U.S.C. § 794 et seq. (“Section 504”); and Title VII, 42 U.S.C.


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§ 2000e et seq., to correct unlawful employment practices on the basis of

gender and disability by association, to vindicate Plaintiff Johnson’s rights

and to make her whole. Ms. Johnson seeks injunctive and declaratory relief,

back pay, reinstatement or front pay, and lost benefits, compensatory

damages, and attorney’s fees and costs of litigation.

      2.     Ms. Johnson brings this action because under the ADA and

Section 504, as she was discriminated against based on her husband’s

disability. Ms. Johnson also asserts a gender discrimination claim under Title

VII as she was passed over for promotion based on her gender.

                             JURISDICTION AND VENUE

      3.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331

(federal question) and 28 U.S.C. § 1343 (civil rights).

      4.     Venue is proper in this district and division under 28 U.S.C. §

1391 because Defendants conduct business in this district and division and the

unlawful actions and practices alleged herein were committed within the

Northern District of Georgia.

                EXHAUSTION OF ADMINISTRATIVE REMEDIES

      5.     Ms. Johnson filed a charge of discrimination with the Equal

Employment Opportunity Commission on June 23, 2021, within 180 days of

the occurrence of the acts of which she complains.


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      6.      On August 8, 2022, the EEOC issued a Notice of Right to Sue

from the EEOC relating to her charge of discrimination, charge number 410-

2021-05298.

      7.      Ms. Johnson brings this suit within ninety (90) days of the receipt

of her Notice of Right to Sue.

                                    THE PARTIES

      8.      Ms. Johnson is a citizen of the United States and a resident of the

State of Georgia. Ms. Johnson submits herself to the jurisdiction of this Court.

      9.      Ms. Johnson is a woman.

      10.     Ms. Johnson, at all times relevant hereto, was married to an

individual with a disability as that term is defined by 42 U.S.C. § 12102(1).

      11.     Defendants are employers engaged in commerce or in an

industry affecting commerce within the meaning of the ADA and/or the

Rehabilitation Act and Title VII and has employed more than 15 persons for

each working day in each of 20 calendar weeks in the current or preceding

calendar year.

      12.     Defendants may be served with summons and a copy of the

Complaint in this action by delivering process to Darrell Dix, Spalding

County Sheriff, 401 Justice Boulevard, Griffin, Georgia 30224.




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                              STATEMENT OF FACTS

      13.     Ms. Johnson serves at the Chief Counselor at the Spalding

County Correctional Institute where she has worked for 27 years.

      14.     Ms. Johnson has applied for Deputy Warden positions over the

last several years to be passed over every time. Most recently, the SCCI

Warden, Carl Humphrey, selected a man for the Deputy Warden position in

April 2021.

      15.     Mr. Humphrey’s selection has only worked for Spalding County

since November 2020, and before the promotion reported to Ms. Johnson.

      16.     All four people hired or promoted by Carl Humphrey for upper

management positions within the Correctional Institute have been men.

      17.     Ms. Johnson’s husband underwent cancer treatment from

December 9, 2016 to June 9, 2021 when he died.

      18.     During his treatment, Ms. Johnson assisted him in the hospital

and at home.     She had to take certain days off, which were approved.

Nevertheless, Ms. Johnson was not promoted to Deputy Warden in the midst

of her husband’s treatment for cancer.

      19.     Upon information and belief, Ms. Johnson was not considered

for the position because of Humphrey’s impression that she was out too much

taking care of her husband.


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                               COUNT I
            Violation of ADA – Actual Discrimination by Association

      20.    At all times relevant hereto, Defendants have been subject to the

requirements of Title I of the Americans with Disabilities Act as amended by

the ADA.

      21.    At all times relevant hereto, Ms. Johnson was married to an

individual with a disability as defined by the ADA, 42 U.S.C. § 12102 (1)(A).

      22.    Defendants were aware of Ms. Johnson’s husband’s cancer

diagnosis, which constituted a disability.

      23.    At all times relevant hereto, Ms. Johnson has been a qualified

individual married to a person with a disability as that term is defined by 42

U.S.C. § 12111 (8) and able to perform the essential functions of the job she

applied to obtain.

      24.    Defendants’ actions are a violation of Section 102 of the ADA,

42 U.S.C. § 12112, which prohibits discrimination on the basis of disability

by association.

      25.    As a direct and proximate result of Defendants’ intentional

discrimination, Ms. Johnson has suffered out of pocket losses and has been

deprived of job-related economic benefits, including income in the form of

salary, performance incentives, deferred compensation, and other job-related

benefits, including social security, life insurance, health care insurance, all in
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an amount to be established at trial.

      26.    Defendants’ actions have caused, continue to cause, and will

cause Ms. Johnson to suffer damages for garden variety emotional distress,

mental anguish, loss of enjoyment of life, and other non-pecuniary losses all

in an amount to be established at trial.

                               COUNT II
     Violation of the Rehabilitation Act – Actual Discrimination by
                               Association

      27.    At all times relevant hereto, Defendants have been subject to the

requirements of Section 504 of the Rehabilitation Act as amended by the

ADAAA.

      28.    At all times relevant hereto, Ms. Johnson was married to an

individual with a disability as defined by the Rehabilitation Act and able to

perform the essential functions of the job she applied to obtain.

      29.    Defendants failed to promote Ms. Johnson because of her

husband’s disability.

      30.    Defendants’ actions are violations of Section 504 of the

Rehabilitation Act, which prohibits discrimination on the basis of disability

by association.

      31.    As a direct and proximate result of Defendants’ intentional

discrimination, Ms. Johnson has suffered out of pocket losses and has been


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deprived of job-related economic benefits, including income in the form of

salary, performance incentives, deferred compensation, and other job-related

benefits, including social security, life insurance, health care insurance, all in

an amount to be established at trial.

      32.    Defendants’ actions have caused, continue to cause, and will

cause Ms. Johnson to suffer damages for garden variety emotional distress,

mental anguish, loss of enjoyment of life, and other non-pecuniary losses all

in an amount to be established at trial.

                                COUNT III
                Gender Discrimination in Violation of Title VII

      33.    Plaintiff is an “employee” as defined by Title VII, 42 § U.S.C. §

2000e et seq.

      34.    Defendants are “employers” as defined by Title VII, 42 U.S.C. §

2000e et seq.

      35.    Defendants discriminated against Plaintiff because of her gender

by failing to promote her to the position of Deputy Warden and filling the role

with a less qualified man.

      36.    Defendants’ discriminatory treatment of Plaintiff violates Title

VII and entitles Plaintiff to all appropriate relief provided under the statute.

      37.    Defendants’ actions were willful, deliberate, and intended to

cause Plaintiff harm, and/or were committed with reckless disregard of the
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harm caused to Plaintiff and were in derogation of her federally protected

rights.

          38.   As a result of Defendants’ conduct, Plaintiff has suffered lost

wages and benefits and has suffered mental and emotional distress.

          39.   Plaintiff was damaged by Defendants’ actions in an amount to be

proven at trial.

          40.   Plaintiff is entitled to the relief set forth in the prayer for relief

below.

                             PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands a TRIAL BY JURY and that the

following relief be granted:

          (a)   Issue a declaratory judgment that Defendants’ acts, policies,

practices, and procedures complained of herein violated Ms. Johnson’s rights

as secured under the ADA, the Rehabilitation Act, and Title VII;

          (b)   Grant to Ms. Johnson judgment in her favor and against

Defendants under all counts of this Complaint;

          (c)   Order Defendants to make Ms. Johnson whole by providing for

her out-of-pocket losses as well as back pay in an amount equal to the sum of

any wages, salary, employment benefits or other compensation salary,

performance incentives, deferred compensation, and other job related


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benefits, including social security, life insurance, health care insurance,

denied or lost as a result of Defendants’ unlawful and discriminatory acts,

together with interest thereon, all in an amount to be proven at trial;

      (d)    Order that Ms. Johnson be awarded front pay or that Defendants

reinstate her;

      (e)    Order Defendants to compensate Ms. Johnson for mental and

emotional damages suffered as a result of Defendants’ unlawful and

discriminatory acts;

      (f)    Grant to Ms. Johnson a jury trial on all issues so triable;

      (g)    Grant to Ms. Johnson her reasonable attorney’s fees and

reasonable expert witness fees together with any and all other costs associated

with this action; and

      (h)    Grant such additional monetary and equitable relief as the Court

deems proper and just.

      Respectfully submitted on this 7th day of November 2022.

                                 LEGARE, ATTWOOD & WOLFE, LLC

                                 s/ Eleanor M. Attwood
                                 Eleanor Mixon Attwood
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